Case 1:15-cv-00099-SPW Document 33-4 Filed 10/03/16 Pagei1of3

Nathan G. Wagner | __.

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Attorney for Plaintiffs

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

BILLINGS DIVISION
estar OF LOREN SIMPSON et Cause No.: CV 15-00099-SPW
al, .
Plaintiffs, CERTIFICATE OF SERVICE BY
Vs. ‘ MAIL
YELLOWSTONE COUNTY et al,
Defendants.

‘T.certify that on the date below I mailed a copy of Exhibit 4 to Plaintiffs’
Statement of Disputed Facts (Leonhardt Video) to the following:

Clerk of Court

U.S. District Court for the District of Montana
Billings Division

James F. Battin U.S. Courthouse

2601 2™ Avenue North

Billings, Montana 59101

Kevin Gillen

Levi Robison

Deputy Yellowstone County Attorneys
P.O. Box 35025

Billings, MT 59107

Page |

Case 1:15-cv-00099-SPW Document 33-4 Filed 10/03/16 Page 2of3

aA

DATED this t day of October, 2016.

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Page 2

Case 1:15-cv-00099-SPW Document 33-4 Filed 10/03/16 Page 3of3

